                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO


In re:                                       )
                                             )
BRIDGET ANNE ROVEDA                          )      CASE NO. 19-11238
                                             )      CHAPTER 7
                                             )
                      Debtor.                )



                                REPORT OF DEBTOR AUDIT

        Pursuant to 28 U.S.C. § 586(f)(1), the United States Trustee contracted for an audit to be
performed of the above-captioned debtor’s petition, schedules and other information filed by the
debtor in this case. In accordance with the Debtor Audit Standards established pursuant to
Section 603(a) of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005,
Tichenor & Associates, LLP performed the procedures enumerated in the contract between it and
the United States Trustee Program to determine whether certain items in the bankruptcy petition,
schedules, and statements as originally filed by Bridget Anne Roveda in Bankruptcy Case No.
19-11238 contain material misstatements concerning the debtor’s income, expenditures, or
assets.


                                       The auditor finds:
                     No material misstatements.
                     One or more material misstatements.
                     The material misstatements are listed on
                     the attached List of Material                    ✓
                     Misstatements.



       The debtor was responsible for the preparation of the bankruptcy petition, schedules, and
statements in this case. The United States Trustee Program is responsible for the sufficiency of
the procedures developed to determine the accuracy, veracity, and completeness of the petitions,
schedules and other information that the debtor is required to provide under 11 U.S.C. §§ 521
and 1322. Tichenor & Associates, LLP makes no representation regarding the sufficiency of the
procedures either for the purpose for which this report has been requested or for any other
purpose.

      The analysis and findings contained in this report are intended solely for the information
and use of the United States Trustee Program and parties-in-interest in the subject civil
bankruptcy proceeding and are not intended to be and should not be used by anyone other than




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these parties. However, this report is a matter of public record and its distribution is not limited.
The Report is not a legal determination, and the legal effect of the auditor’s findings of material
misstatement is a question for the Court. Further, the findings contained in the report neither
require the United States Trustee Program or other parties in interest to take, nor preclude these
parties from taking, legal action in or relating to this case, including with respect to matters not
discussed in this report.


Dated this 31th day of May, 2019.

                                                      Respectfully submitted,

                                                      William R. Tichenor, Partner
                                                      /s/ William R. Tichenor, CPA
                                                      William R. Tichenor, CPA
                                                      Managing Partner
                                                      TICHENOR & ASSOCIATES, LLP
                                                      1700 Eastpoint Parkway, Suite 270
                                                      Louisville, KY 40223
                                                      (502) 245-0775




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                            List of Material Misstatements


               Material Misstatement    Amount Reported in
                                          Schedules and      Audit Finding
                                           Statements

         Discrepancy in the Statement
         of Your Current Monthly
                                            $3,368           $4,892
         Income- Form 122A-1, Line
         11- Understated by $1,524.




                                            3




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